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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN HUBER,

              Plaintiff,
       V.                                           3:19-CV-01090
                                                    (JUDGE MARIANI)
PRO CUSTOM SOLAR LLC, d/b/a
MOMENTUM SOLAR

              Defendant.

                           . (Ji            ORDER

   AND NOW, THIS ~                 1,AY OF SEPTEMBER 2021 , for the reasons set forth in

this Court's accompanying Memorandum Opinion , IT IS HEREBY ORDERED THAT:

1. Defendant shall produce, within 14 days of the date of this Order, the requested call

   records as an excel file, in either the ".csv" or ".txt" document format.

2. Defendant shall pay, within three (3) days of this Order, $7,500 to Plaintiff in

   reasonable attorney's fees incurred by Plaintiff in connection with this dispute.

3. If Defendant fails to provide Plaintiff with the requested call records by the deadline

   imposed by Paragraph 1 of this Order, the Court will impose a sanction of $100 for each

   additional day Defendant fails to produce the call records.
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4. Defendant must provide the Court with an affidavit from an authorized representative of

   the unidentified vendor referred to the September 13, 2021 joint status report to the

   Court (Doc. 72) indicating why it "could not collect all data with[in] the scope of [the

   Court's] [O]rder." (Doc. 72 at 1).
